                                                              (SPACE BELOW FOR FILING STAMP ONLY)
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                 FRESNO, CA 93721
 3              PHONE (559) 233-2900
                  FAX (559) 485-3852
 4
 5     ATTORNEYS FOR Defendant,
                EDDY A. GEORGE
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 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10                                          * * * * * * * *
11   UNITED STATES OF AMERICA,                      Case No.: CR-F-03-5453 OWW
12              Plaintiff,
13        vs.                                       STIPULATION TO CONTINUE FILING
                                                      OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                           SENTENCING
                                                                  and
15              Defendant.                                    O R D E R
16
17        IT IS HEREBY STIPULATED by and between attorneys for the
18   respective parties herein that the Hearing on Sentencing and
19   Motion for New Trial currently scheduled on Friday, May 5, 2006
20   at l:30 p.m., be continued to:
21              FRIDAY, JUNE 9, 2006, AT 9:00 A.M.
22        Counsel for Defendant GEORGE requests this additional
23   continuance due to the fact that he is currently in a trial in
24   the Fresno County Superior Court, which is expected to be
25   concluded no earlier than May l8 or l9, 2006.
26        Counsel for Defendant GEORGE has spoken with Assistant U. S.
27   Attorney, KAREN ESCOBAR, as well as with all other defendant
28   attorneys, who are agreeable to this continuance and the date on
      Case 1:03-cr-05453-JLT Document 318 Filed 05/08/06 Page 2 of 3


 1   which this matter may be heard.
 2        DATED:    May 3, 2006.
 3                                     Respectfully submitted,
 4                                     NUTTALL & COLEMAN
 5
                                           /s/ Roger T. Nuttall
 6                                     By: ___________________________
                                              ROGER T. NUTTALL
 7                                          Attorneys for Defendant,
                                              EDDY A. GEORGE
 8
          DATED: May 3, 2006.
 9
                                            /s/ Karen Escobar
10                                     _______________________________
                                              KAREN ESCOBAR
11                                          Assistant U.S. Attorney
12        DATED: May 3, 2006.
13                                          /s/ Nicholas F. Reyes
                                       _______________________________
14                                            NICHOLAS F. REYES
                                          Attorney for Defendant,
15                                            RITO S. ZAZUETA
16
          DATED: May 3, 2006.
17
                                            /s/ Timothy B. Rote
18                                     _______________________________
                                              TIMOTHY B. ROTE
19                                        Attorney for Defendant,
                                              MICHAEL NOBARI
20
          DATED: May 3, 2007.
21
                                          /s/ Ed Hunt
22                                     _______________________________
                                              ED HUNT
23                                      Attorney for Defendant,
                                              EDISON SHINO
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      Case 1:03-cr-05453-JLT Document 318 Filed 05/08/06 Page 3 of 3


 1                                 O R D E R
 2
          Good Cause Appearing,
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     IT IS SO ORDERED.
 5
     Dated:    May 7, 2006              /s/ Oliver W. Wanger
 6   emm0d6                       UNITED STATES DISTRICT JUDGE
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